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                              EXHIBIT E




                              EXHIBIT E
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                            Civil Action No. 3:14-cv-05358
   Channel Methods Partners, LLC,
   a New Jersey limited liability company
                                                            DECLARATION OF SERVICE
                              Plaintiff,
   v.

   Pharmatec, Inc.,
   a Colorado corporation

                              Defendant.



            Martha Beach, of full age, hereby declares under penalty of perjury that:

        1. On September 2, 2014, I caused the Motion to Dismiss or in the Alternative for a More

            Definite Statement and to Transfer Venue to be filed with the United States District

            Court, District of New Jersey via e-filing by CM/ECF.

        2. On September 2, 2014, I caused a copy of the Motion to Dismiss or in the Alternative for

            a More Definite Statement and to Transfer Venue to be served upon counsel for Plaintiff,

            via U.S. Mail, overnight delivery, post-marked September 3, 2014, at the following

            address:

            Sean G. Deverin, Esq.
            160 White Road, Suite 204
            Little Silver, NJ 07739

   Respectfully submitted September 2, 2014.

                                                         /s Martha Beach
                                                         Martha Beach




   {JK00239706.1 }
